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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                          Criminal No. 17-64(DWF/KMM)

 UNITED STATES OF AMERICA,

                      Plaintiff,
                                                     GOVERNMENT’S RESPONSE
        v.                                           TO DEFENDANT’S
                                                     OBJECTIONS TO REPORT AND
 EDWARD S. ADAMS,                                    RECOMMENDATION

                      Defendant.


      The United States of America, by and through its attorneys, Erica H. MacDonald,

United States Attorney for the District of Minnesota, and John Kokkinen, Assistant United

States Attorney, respectfully submits this response to Edward S. Adams’s Objections [Dkt

222] to Magistrate Judge Katherine Menendez’s September 17, 2018 Report and

Recommendation (“R&R”) [Dkt 221].           Adams seeks review of Judge Menendez’s

recommendation that the Court deny his motion to suppress [Docket No. 36], motion to

dismiss or, in the alternative, disqualify [Dkt 141], and motion to dismiss or, in the

alternative, for a bill of particulars [Dkt 140]. The issues that are implicated by Adams’s

motions have been briefed extensively by the parties, including in the context of a motion

that is currently pending before Judge Menendez [Dkt 192, 201, 217]. Rather than repeat

those arguments, the government incorporates by reference all of the arguments made in

its prior submissions, see [Dkt 48, 49, 109, 119, 125, 166, 172, 179, 192, and 217], as

supplemented by the below response to specific arguments made in Adams’s objections.
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I.     The Magistrate Judge Correctly Recommended that Adams’s Motion to
       Suppress be Denied.

       A. Standard of Review

       A district judge must consider de novo any objection to a magistrate judge’s

recommendation on a motion to suppress, and may accept, reject, or modify the

recommendation, receive further evidence, or resubmit the matter to the magistrate judge

with instructions. Fed. R. Crim. P. 59(a); 28 U.S.C. § 636(b)(1).

       B. Analysis

       The total number of documents produced in response to the Yahoo! search warrant

was 146,522, and consisted of emails from two of Adams’s accounts as well as emails from

the account of Adams’s law partner, M.M. Zeitz Ex. 3. The total number retained after

the Relativity database was filtered in April 2017 (i.e., the seized documents) was 42,927.

Of that number, 5,485 were viewed. Maier Decl. [Dkt 148] ¶ 3. Adams claims that the

difference—the 37,422 that were not viewed—should have been suppressed by Judge

Menendez. For several reasons, the objection should be overruled.1


1
  Adams contends that the refusal to suppress the 37,422 documents that were not viewed
will result in case management complications because, he claims, many of those documents
might contain privileged information. Thus, if the government decided to examine the
37,422 documents and seek to use any of them, that could prompt additional motions by
Adams. Adams asserts, without citation to any authority, that there is no basis to force
him to spend the time and resources going through these 37,422 documents to determine
whether any of them are privileged. But, of course, the basis is that as the proponent of the
privilege, he bears the burden of establishing that any of the documents are in fact
privileged. In the interest of attempting to mitigate the feared case management
complications and save the defense the time and cost of reviewing the 37,422 documents
themselves, the government proposes instituting a taint team to examine those 37,422
documents before the prosecution team is permitted to access them. Given the history of
this litigation, however, it seems unlikely that Adams would agree to such a proposal.
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       First, as Judge Mendenez ruled, it was not unreasonable for the government to use

search terms during its final sort of the database in April 2017, particularly given the fact

that “almost all of the search terms were reasonably designed to elicit evidence that the

government could use to prove up the scheme alleged in the affidavit.” R&R at 79. And

even though there were 22 emails that were viewed and used during the course of the

investigation that were not ultimately retained as part of the “final cull” in April 2017,

Judge Menendez properly concluded that these 22 emails were nonetheless seized given

that they had been used and that the seizure of those 22 emails was proper because there

was no indication that they “were actually beyond the scope of the warrant.” Id. at 80-81.

       Second, as Judge Menendez correctly explained, “[t]he Fourth Amendment allows

government actors to return to a seized database in a case like this repeatedly over time to

review or collect responsive documents.” Id. at 81. If the seizure was reasonable because

it was designed to capture only those documents that were within the scope of the warrant,

that is the end of the inquiry from a Fourth Amendment perspective and suppression of all

evidence, or even the 37,422 that have not been reviewed, is not the appropriate remedy.2

See id. A lengthy footnote in United States v. Lee, NO. 1:14-cr-227-TCB-2, 2015 WL

56671002, at *14 n.15 (N.D. Ga. Sept. 25, 2015), which was quoted in the government’s

response to Adams’s motion to dismiss [Docket No. 172 at 35-36], explains why.



2
  Adams seems to forget that if the government seeks to admit at trial any of the documents
that were seized, including the ones he claims are entirely unrelated to the allegations that
form the basis of the charges against him, the government will have to show those
documents to be probative of a fact of consequence and that he retains the ability to seek
to prevent the admission of such documents as being irrelevant.
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       Third, Adams makes no attempt to distinguish between his emails and those of

M.M. The record shows that a number of emails within the 42,927 were from M.M.’s

email account, not Adams’s. See Zeitz Ex. 3, Maier Decl ¶¶ 2-3. Adams has no Fourth

Amendment basis to request suppression of emails from M.M.’s account that are among

the 42,927, regardless of whether those documents were ever viewed.3

       Adams also objects to Judge Menendez’s refusal to recommend suppression of 750

emails that, according to Adams, the government has not defended as being within the

scope of the warrant. Specifically, he claims that more than 100 related to purely personal

matters and more than 600 pertained to business dealings unrelated to Apollo. For the

same reasons explained above, Judge Menendez correctly concluded that suppression was

not warranted because these emails were included in the final cull in April 2017, which

consisted of reasonable efforts to identify documents that were within the scope of the

warrant. Adams’s argument also overlooks the reasoning, advanced by the government in

defending the seizure of these 750 emails, that the retention of such emails can be justified

because they could have evidentiary or foundational value to issues such as authentication,

attribution, identity, motive, intent, and opportunity. See [Dkt 172] at 84.


3
 Adams cites United States v. Metter, 860 F. Supl 2d 205, 211 (E.D.N.Y. 2012), apparently
for the proposition that the government acted unreasonably in failing to determine for itself
whether the 37,422 emails that were not viewed actually fell within the scope of the
warrant. But the government did take steps to determine for itself whether they fell within
the scope of the warrant. Those 37,422, as well as the other 5,485 that make up the 42,927,
were identified as within the scope of the warrant as a result of search terms that Judge
Menendez correctly found to be “reasonably calculated” to locate documents within the
scope of the warrant and were emblematic of “clear efforts to explore the database for
information responsive to the warrant.” R&R at 77, 79, 87.

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       With regard to Judge Menendez’s conclusion that the search terms were reasonably

calculated to locate documents within the scope of the warrant, Adams argues that Judge

Menendez failed to cite any evidence in support of that conclusion and instead relied on

the “incantation that the fraud here was ‘complex.’” See [Dkt 222] at 6. Adams is

mistaken.   Judge Menendez explained why each of the various search terms were

reasonably calculated to locate documents that fit within the illustrative categories of

documents identified in the items to be seized and explained the nexus or relevance of those

categories to the scheme alleged in the affidavit.4 See R&R at 10-15,69-72, 77-80.

       Adams next argues that the government disregarded proper procedure under Rule

41 by never meaningfully executing the warrant.          Judge Menendez rightly rejected

Adams’s argument on the grounds that (1) the government’s execution of the warrant,

though lasting a comparatively long time, was not reckless and did not reflect any bad faith,

(2) Adams failed to establish any prejudice as that term is defined in the context of alleged

Rule 41 violations, and (3) there is no authority for the proposition—implicit in Adams’s

motion—that “full technical compliance with [Rule 41 is] a functional prerequisite to a

finding that a search was conducted with the reasonableness the Constitution requires.”

R&R at 87-88.



4
  Adams argues that Judge Menendez erred in relying on the “business and financial
transactions” language in the illustrative list of categories of documents without limiting
that category to documents from 2010 to the present. But as explained in the government’s
response, the “2010 to the present” language was inclusive, not exclusive, and thus the
warrant, on its face, authorized the seizure of records within that category that preceded
2010. See [Dkt. 172] at 38.

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       In addition, Adams argues that the R&R’s suppression ruling will have

“consequences far beyond this case” and will “render[] the Fourth Amendment

meaningless in the digital context.” See [Dkt. 222] at 7-8. Adams’s ominous warnings are

incompatible with the story told by the evidence in the record, which is that the

government, as Judge Menendez found, made considerable efforts to execute the warrant

in a way that identified only those documents that fell within the scope of the warrant and

to protect Adams’s interest in the confidentiality of his communications with his lawyers.

II.    The Magistrate Judge Correctly Recommended that Adams’s Motions
       Requesting Dismissal be Denied.

       Two of Adams’s motions requested the relief of dismissal of all or part of the

superseding indictment. The first [Dkt 140] requests dismissal of the tax charges on the

ground that the charges, as set forth in the superseding indictment, fail to provide enough

information to put Adams on notice of the charges, as required by the Sixth Amendment,

and to permit him to raise Fifth Amendment challenges to future prosecutions for the same

offense. The second [Docket No. 141] requests dismissal of all charges or, at a minimum,

the tax charges on the ground that alleged invasions into privileged communications

violated his Fifth and Sixth Amendment rights. Adams’s objections are without merit and

should be overruled.

       A. Standard of Review

      A district judge must consider de novo any objection to a magistrate judge’s

recommendation on a dispositive motion, and may accept, reject, or modify the




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recommendation, receive further evidence, or resubmit the matter to the magistrate judge

with instructions. Fed. R. Crim. P. 59(a); 28 U.S.C. § 636(b)(1).

       B. Analysis5

       Adams claims that the Fifth Amendment requires dismissal. Adams argues that this

conclusion is compelled by the R&R’s finding that it is more likely than not that privilege

headers were visible to members of the prosecution team when they were reviewing

documents. Judge Menendez thoughtfully and thoroughly addressed this argument and

explained why, in the unique circumstances of this case, the presence of such banners did

not automatically indicate a deliberate intrusion. As Judge Menendez found, it was

reasonable for the government to conclude that there would be many items in Adams’s

email accounts that would facially suggest a privilege—but would not, in fact, be

privileged—due to the presence of “general disclaimer language on many emails.” R&R

at 44. Adams contends that there are no such emails in the record and that R&R fails to

identify any.

       The argument, however, ignores the evidentiary basis for Judge Menendez’s finding

and the reasonable inferences Judge Menendez drew in making that finding. Just as Judge

Menendez noted, the record did establish that there were many emails that were not

privileged that nonetheless contained privilege disclaimers, banners, or legends. As


5
  Adams does not advance any specific arguments regarding Judge Menendez’s refusal to
dismiss the tax charges on the theory that the superseding indictment fails to put him on
notice as to the basis of the charges. Judge Menendez applied the governing legal standard
and correctly concluded that the charges cite the statute Adams is accused of violating,
track the language of the statute, list the elements of the offense, and contain statements of
fact that adequately inform him of the specific offenses alleged. R&R at 89-90.
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referenced in an email that explained why the general search terms were abandoned in

favor of more specific search terms to weed out potentially privileged emails, Zeitz Exhibit

4, “the ‘general’ search terms (‘privilege,’ ‘attorney,’ etc.) were hitting on 70-80% of the

documents, due in large part to standard disclaimers that appeared on many/most of the

emails.” See also DX 4 (Zeitz Decl.) [Docket 52-1] ¶ 14 and DX 5 (Maria Decl.) [Docket

52-1] ¶ 7. Judge Menendez’s finding was also supported by testimony at the suppression

hearing. See Jan. 9, 2018 Hr’g Tr. at 124-127. And Judge Menendez further supported her

finding by relying on the reasonable, common-sense inference that “The Court and

presumably all counsel have experienced first-hand the reality that emails from attorneys

often contain such disclaimer language, even when they do not contain a shred of privileged

content.” R&R at 44. Therefore, Adams’s argument that Judge Menendez’s finding was

erroneous is unavailing.

       Despite being permitted to argue much of his motion to dismiss in sealed

submissions to which the government was unable to specifically respond, Adams was

unable to demonstrate prejudice by the alleged exposures to potentially privileged

communications.     In objecting to Judge Menendez’s conclusion that he failed to

demonstrate prejudice, Adams argues that the information contained within the

communications that occurred many years prior to the criminal case and in the context of

potential civil lawsuits and SEC investigations is “relevant” to the criminal charges

pending against him. But even assuming the information is relevant, that does not establish

prejudice, much less the type of prejudice required to warrant dismissal under the Fifth

Amendment. Instead, as Judge Menendez correctly reasoned after having reviewed all of
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Adams’s in camera submissions, any fear of prejudice is negated by (1) the government

having no intention of using any privileged communications in its presentation to the jury

at trial; (2) the R&R’s findings that the alleged intrusions were generally quite brief,

circumscribed, occurred a long time ago, and had doubtful value to deducing the trial

strategy in this case; (3) the content of many of the communications having been revealed

“almost note-for note” in Adams’s SEC deposition testimony and his lawyers’ presentation

to the SEC; and (4) the persuasive indications that the tax charges against Adams were

based on a comparison of Adams’s tax returns to bank records and not on any “allegedly

privileged material.” See R&R at 54-58.6

III.   The Magistrate Judge’s Denial of Adams’s Requests for a Bill of Particulars
       and for Disqualification were not Contrary to Law or Clearly Erroneous.

       A. Standard of Review

       In considering an objection to a magistrate judge’s ruling on a nondispositive matter,

a district judge may modify or set aside the magistrate judge’s ruling if it is contrary to law

or clearly erroneous. Fed. R. Crim. P. 59(a); 28 U.S.C. § 636(b)(1)(A).

       B. Analysis

          Bill of Particulars

       Adams objects to Judge Menendez’s determination that no bill of particulars is

required to inform him of the nature of the tax charges, to prevent unfair surprise at trial,


6
 There is no merit to Adams’s argument that the R&R misunderstood the issue of whether
dismissal is required under the Sixth Amendment. The R&R correctly distinguished the
Sixth Amendment cases on which Adams relied in holding that no Sixth Amendment
violation occurred given that the alleged intrusions into attorney-client communications
occurred prior to the initiation of criminal proceedings. See R&R at 35-39.
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and to permit him to raise a Fifth Amendment double-jeopardy challenge to a future,

hypothetical prosecution. Judge Menendez identified the applicable legal test, applied that

test in assessing the superseding indictment, and correctly concluded that no bill of

particulars is “necessary to inform Mr. Adams of the nature of the charges or to prevent

unfair surprise at trial.” R&R at 90-92. In reaching this determination, Judge Menendez

properly relied on the government’s representations, which Adams does not dispute, that

the defense has been provided extensive discovery and has even seen spreadsheets

summarizing the transactions from the bank accounts referenced in the superseding

indictment. Aside from seeking review of Judge Menendez’s determination, Adams fails

to identify any specific portion of Judge Menendez’s analysis that is clearly erroneous or

contrary to law. For that reason alone, his objection should be overruled.

          Disqualification

       Adams objects to Judge Menendez’s refusal to disqualify the prosecution team.

Although he seems to quibble with the legal test and factors that Judge Menendez applied,

he does not actually contend that those factors or that test were contrary to law.

       The R&R reveals that Judge Menendez painstakingly examined the extraordinarily

large record that has been developed over the past 13 month, which included a two-day

evidentiary hearing, exhibits that likely exceed ten thousand pages, numerous declarations,

and hundreds of pages of written memoranda.           Based on Judge Menendez’s close

familiarity with that record, including Judge Menendez’s ability to assess the credibility of

witnesses who testified at the two-day evidentiary hearing, Judge Menendez made the

following findings that informed her analysis:
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    “The record establishes that the government did not access privileged information

       through egregious conduct.”

    “There is no indication that the indictment was procured through the use of

       privileged information, and there is no indication that Mr. Adams’s extraordinarily

       able defense team will be unable to effectively represent him at trial.”

    “The government has not failed to show candor to the Court or disobeyed any Court

       orders.”

    “[T]he exposure to privileged material that did occur did not result in prejudice to

       Mr. Adams.”

R&R at 63-64. The R&R is littered with numerous other findings that bear on the issue of

disqualification. For example, the R&R includes findings regarding the brevity of the

exposures to the allegedly privileged documents, findings regarding the content of certain

allegedly privileged communications being “largely innocuous,” findings that it is unlikely

that any information gleaned from certain allegedly privileged communications would

actually permit the government to deduce the defense’s trial strategy in this case, and

findings that much of the information contained within certain allegedly privileged

documents is revealed in other materials that are “validly and independently in the hands

of the government.” R&R at 32, 52, 55, 56, 64. All of these findings, as well as all of the

other findings in the R&R, are well-supported by evidence and reasonable inferences that

Judge Menendez was permitted to draw from the enormous record.

       In an attempt to show bad faith on the part of the government where none exists,

Adams renews his strained effort to characterize the government’s communications to
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defense counsel about the documents to which it had access as consisting of

misrepresentations. As noted in the government’s response to Adams’s motion to dismiss,

see [Dkt 179] at 40-41, Adams’s characterizations impart to those communications a

deceptive intent that is not there.

       Lastly, Adams argues that Judge Menendez had no evidentiary basis for the

determination that the tax charges would never have been secured had it not been for the

government’s exposures to Adams’s communications with the Murry firm. The claim is

meritless. Judge Menendez received and reviewed the special agent report that obtained

authority from the Tax Division of DOJ to pursue those tax charges, Sealed Government

Exhibit G to Response to Motion to Dismiss [Dkt 180], and the transcript of the

presentation of those tax charges to the grand jury, Sealed Government Exhibit F to

Response to Motion to Dismiss [Dkt 180], and properly found that the basis for the tax

charges was apparent from a comparison of analyses of bank records to Adams’s initial

and first set of amended returns.

       The Court should overrule Adams’s objections to Judge Menendez’s denial of his

request for disqualification.

                                      CONCLUSION

       Judge Menendez issued a thorough, 94-page R&R that painstakingly analyzed the

factual record and the applicable law. Having the benefit of having presided over a two-

day evidentiary hearing where witnesses’ demeanor and credibility could be assessed in

the context of exhibits that likely exceeded ten thousand pages, Judge Menendez

determined that there was no government misconduct that would merit Adams’s requests
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for suppression, dismissal, or disqualification. The government respectfully requests that

the Court overrule Adams’s objections, adopt Judge Menendez’s R&R in full, and deny

Adams’s motions.



Dated: October 15, 2018                         Respectfully Submitted,

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